Case 18-61593-wlh      Doc 42     Filed 12/19/18 Entered 12/19/18 15:24:58         Desc Main
                                  Document Page 1 of 3




  IT IS ORDERED as set forth below:



   Date: December 19, 2018
                                                     _____________________________________
                                                                Wendy L. Hagenau
                                                           U.S. Bankruptcy Court Judge

_______________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

   IN RE:                           ) CHAPTER 13
                                    )
   ROBERT FLOYD GALBREATH, III,     ) CASE NO.: 18-61593-WLH
                                    )
        Debtor.                     )
   ROBERT FLOYD GALBREATH, III,     )
                                    )
        Movant.                     )
                                    )
   v.                               ) CONSTESTED MATTER
                                    )
   BRIDGECREST CREDIT COMPANY, LLC, )
                                    )
        Respondent.                 )
    ORDER ON OBJECTION TO CLAIM NUMBER 7 – BRIDGECREST CREDIT
                          COMPANY, LLC

       On September 26, 2018, Debtor filed an Objection to Claim (Motion to Disallow Claim)

of Bridgecrest Credit Company, LLC (Claim No. 7), which was scheduled to be heard on

September 26, 2018 (Doc. No. 25). Debtor re-noticed the Hearing to December 12, 2018 (Doc.

No. 36), and the Objection was heard on December 12, 2018. Debtor objects to Respondent’s Proof
Case 18-61593-wlh       Doc 42     Filed 12/19/18 Entered 12/19/18 15:24:58            Desc Main
                                   Document Page 2 of 3




of Claim Number 7 as filed. Debtor asserts he no longer owns the property. Debtor’s vehicle was

repossessed by Respondent prior to his Chapter 13 Bankruptcy filing. At the call of the calendar,

Counsel for Debtor and the Chapter 13 Trustee appeared. No other party in interest or creditor

made an appearance, lodged or advocated any response to the claim objection; accordingly, by

default, it is hereby

        ORDERED that Debtor’s Objection to Creditor Bridgecrest Credit Company, LLC (Claim

No. 7) is GRANTED: Proof of Claim Number 7 in the amount of $11,453.66 is to be treated as a

general, non-priority, unsecured claim.


                                    [END OF DOCUMENT]


Prepared by:
/s/
John Burke
GA Bar No.:966407
The Semrad Law Firm, LLC
Sterling Point II
303 Perimeter Center North, Ste. 201
Atlanta, Georgia 30346
(678) 668-7160
Attorney for the Debtor



No opposition by:

       /s/   (with express permission)
Ryan Williams, Attorney for
Nancy J. Whaley
Georgia Bar No.: 940874
303 Peachtree Center Ave.
Suite 120
Atlanta, GA 30303
(678) 992-1201
Chapter 13 Trustee
Case 18-61593-wlh   Doc 42     Filed 12/19/18 Entered 12/19/18 15:24:58   Desc Main
                               Document Page 3 of 3




                                DISTRIBUTION LIST

                                    John Burke
                            The Semrad Law Firm, LLC
                        303 Perimeter Center North, Ste. 201
                                Atlanta, GA 30346

                                   Nancy J. Whaley
                              Standing Chapter 13 Trustee
                                       Suite 120
                               303 Peachtree Center Ave.
                                   Atlanta GA 30303

                               Robert Floyd Galbreath, III
                                  344 Duncan Street
                                   Park, GA 30297

                              Bridgecrest Credit Company,
                                    P.O. Box 29018
                                  Phoenix, AZ 85038

                         Bridgecrest Credit Company, LLC
                           c/o Kenneth William Powley,
                               Bankruptcy Specialist
                                  P.O. Box 29018
                                Phoenix, AZ 8503

                          Bridgecrest Credit Company, LLC
                      /o Corporation Service Company, Reg. Ag.
                          40 Technology Pkwy South, #300
                                 Norcross, GA 30092

                             Jefferson Capital Systems, LLC
                                      PO BOX 7999
                              Saint Cloud, MN 56302-9617

                            Jefferson Capital Systems, Llc
                      /o Corporation Service Company, Reg. Ag.
                       40 Technology Parkway South, Suite 300
                                 Norcross, GA 30092

                           Jefferson Capital Systems, Llc
                         Five Concourse Parkway, Suite 400
                                 Atlanta, Ga, 30328
